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                                         March 14, 2019


 SUBMITTED VIA CM/ECF

 The Honorable Kenneth J. Mansfield
 United States District Court
 District of Hawaii
 300 Ala Moana Blvd., C-338
 Honolulu, HI 96850

 Dear Judge Mansfield:

           Re:    Ohana Military Communities, LLC, et al. v. Cara Barber
                  Civil No. 18-00042-KJM

 Dear Judge Mansfield:

        This letter will address a discovery dispute that has arisen between Defendant
 Cara Barber (“Barber”) and Plaintiffs Ohana Military Communities, LLC (“OMC”) and
 Forest City Residential Management, LLC (“FCRM”). Pursuant to the agreement of the
 parties, letter briefs are being submitted to the court in accordance with Local Rule 37.1.

       The dispute concerns Barber’s subpoena of the following records from Becker
 Communications, Inc. (“Becker”), a public relations firm that has been used by OMC
 and FCRM:

           [A]ny and all documents related to public relations services you
           have performed for Ohana Military Communities, LLC, Ohana
           Military Communities, Inc., Forest City Residential Management,
           LLC, or the Hunt Companies, that it is in any way related to
           residential housing at Marine Corps Base Hawaii, including, without
           limitation, proposals, contracts, agreements in writing, written
           correspondence, emails, surveys, survey results, focus group
           proposals or results, reports, press releases or other documents of
           any nature related to issue management, crisis communications,
           advertising, or other public relations services.




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 Both Becker and Plaintiffs have objected to this subpoena of records on a variety of
 grounds. To place the current dispute in the proper context, it is relevant to briefly review
 the facts underlying the Plaintiffs’ claims against Barber.

        The primary claim asserted by Plaintiffs is that they have suffered damage due to
 reputational harm caused by Barber’s allegedly defamatory statements made after the
 parties’ February 2016 Settlement. Thus, Plaintiffs’ reputation before and after the
 February 2016 settlement is directly at issue. Indeed, in order to support their alleged
 reputational harm, the Plaintiffs retained a “public relations expert,” Robert Fisher, who
 has opined, among other things, that Plaintiffs have “suffered significant and irreparable
 harm and damage to their image, reputation and brand” as a result of Barber’s social
 media activity following the settlement of her prior lawsuit against the Plaintiffs. Mr.
 Fisher goes on to recommend that Plaintiffs engage in a two-year “proactive reputation
 management/damage repair program” that he estimates will cost approximately
 $425,000 to $475,000.

         In the prior litigation, however, Becker was specifically hired by Plaintiffs to
 provide public relations consulting in response to the Barber litigation. Thus, Plaintiffs’
 communications with Becker are directly relevant to Plaintiffs’ reputation before the
 February 2016 settlement and are specifically related to the impact of Cara Barber on
 Plaintiffs’ reputation. In light of the claims being pursued by Plaintiffs in this action, and
 particularly the contention that their reputations in general, as well as within the
 community of past, current or prospective tenants of the residential housing at Marine
 Corps Base Hawaii (MCBH), have sustained “irreparable harm,” the records of Becker
 are extremely and uniquely relevant. Becker has also conducted “focus groups” or
 surveys among the residents of MCBH that were apparently designed to determine the
 general level of concern about pesticide contaminated soil and the Plaintiffs’ response
 to that issue. The results of such work by Becker on behalf of Plaintiffs—indeed, the
 very fact that Plaintiffs retained Becker to conduct such surveys in the first place—is
 directly relevant to Plaintiffs’ contention that anything posted or said by Barber has
 resulted in any harm to Plaintiffs’ reputation.

        One of the objections raised by Plaintiffs to the subpoena is that it is overbroad in
 terms of its subject matter and time frame. It is important to note, however, that the
 subpoena is specifically limited to “residential housing at Marine Corps Base Hawaii,”
 which means that it is already limited in terms of its time frame and subject matter. To
 the extent that Becker has provided broader PR or advertising services to the Plaintiffs,
 documentation pertaining to that other work—for example, work related to other military
 housing projects—would be outside the scope of the subpoena. As specifically limited,
 however, all of Becker’s work in advising the Plaintiffs with respect to public relations is
 relevant and changes to that advice over time are also relevant to the Plaintiffs’
 contention that any act on the part of Barber had a negative impact on their reputation.
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        Plaintiffs also object to the subpoena served on Becker on the ground that it was
 retained as a “litigation consultant” with respect to the prior civil action in which Barber
 was one of the plaintiffs. This issue, and the privilege that Plaintiffs seek to assert as to
 Becker, has already been addressed by this Court in the context of Plaintiffs request for
 communications between Barber and one of her experts, Dr. Walter Chun. As this Court
 noted in its February 25, 2019 Order pertaining to communications with Dr. Chun,
 Federal Rule 26(b)(4)(C) “does not protect communications that a party – in this case
 Barber – has with her expert witness. Accordingly, communications between Barber and
 Chun must be produced. Because Barber intends to defend the claims against her
 based, in part, on conversations she may have had with Chun during Barber I, all such
 communications must be produced, regardless of time.” Order at p. 7.

         Like Walter Chun, Becker’s public relations work for Plaintiffs has been placed
 directly at issue by Plaintiffs. In the context of the records that have been subpoenaed
 from Becker, Plaintiffs are making affirmative claims against Barber seeking damages in
 excess of $400,000 for alleged damage to their reputation, Barber must be able to
 access records of the Plaintiffs’ PR consulting firm in order to properly defend herself
 against such claims.

         The authorities cited by this Court in its February 25, 2019 Order are directly on
 point. See, e.g., Regents of Univ. of Cal. v. U.S. Dep’t of Homeland Sec., Civ. No. C 17-
 05211 WHA, 2017 WL 4642324, at *5 (N.D. Cal. Oct. 17, 2017) (“Where a party raises a
 claim, which in fairness to its adversary requires it to reveal the information or
 communication that claim is predicated upon, it has implicitly waived any privilege over
 that communication.” (citations omitted)). “Parties are not permitted to advance
 conclusions that favor their position in litigation, and at the same time shield the
 information that led to those conclusions from discovery.” Id.; see also Ojmar US, LLC v.
 Sec. People, Inc., Case No. 16-cv-04948-HSG (MEJ), 2017 WL 2531472, at *2 (N.D.
 Cal. June 12, 2017) (noting that reliance on advice-of-counsel defense waives
 privilege). In this case, it is believed that Plaintiffs relied directly upon public relations
 advice and counsel provided by Becker in determining what their reputation in the
 community they served was, how any action on the part of Barber affected that
 reputation, if at all, and how best to respond to any perceived harm to their reputation
 arising from soil contamination issues. Becker’s work, and what Plaintiffs paid Becker
 for its work, is also directly relevant to the Plaintiffs’ alleged damages. Under these facts
 there is no question that Barber is entitled to all documents and work product within the
 scope of the subpoena that was served on Becker.

        Plaintiffs’ contention that Becker’s records should be protected from discovery
 pursuant to the work product doctrine is not well founded. Becker is a public relations
 firm, not a law firm, and its work included surveys and focus groups of MCBH residents
 to determine their general satisfaction with Plaintiffs’ management of the residential
 properties they were living in and, presumably, their level of concern about soil
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 contamination in their neighborhoods. These issues directly concern the Plaintiffs’
 claims that they have suffered damage from Barber’s social media postings and there is
 no factual or legal basis to deem Becker’s work as being attorney work product or work
 that was done in anticipation of litigation.

         Becker’s retention by Plaintiffs also goes directly to the issue of Plaintiffs’ efforts,
 if any, to mitigate the damage that they allege to have suffered from Barber’s social
 media activity. It is likely that Becker’s work for Plaintiffs included advice in how best to
 respond to any publicity arising from the soil contamination lawsuits and the settlement
 of the original Barber civil action. If Becker’s work for Plaintiffs revealed a significant
 negative impact on Plaintiffs’ reputation related to the settlement of the prior litigation,
 and Ms. Barber’s post-settlement social media activity, then presumably Becker would
 be listed as an expert and providing a report to that effect. Instead, Plaintiffs have
 retained Robert Fisher, a PR expert based in California, to opine on such issues. It is
 also relevant to note that Mr. Fisher was not provided with any of Becker’s survey or
 focus group work product for the Plaintiffs, notwithstanding the fact that he is opining on
 issues that would be directly informed by Becker’s work. The Plaintiffs’ failure to provide
 Becker’s work product to their own expert is a strong indication that the documents at
 issue are not favorable to Plaintiffs and may indicate why they are declining, without an
 order from this court, to produce the records at issue.

        It was not Barber’s intent to impose an undue burden on a non-party in
 responding to a subpoena for records that should have been produced months ago by
 the Plaintiffs in response to Barber’s November 19, 2018 request for production of
 documents, which included a request for “all COMMUNICATIONS by and between YOU
 and Becker Communications.” Plaintiffs declined to produce any records in response to
 this request and their failure to do so is now being presented in the context of Barber’s
 proper attempt to obtain those records through a properly issued subpoena directed to
 Becker.


                                             Very truly yours,

                                             /s/ Bradford F. K. Bliss

                                             Bradford F. K. Bliss

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